






						NO. 12-08-00430-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


WILTON LARRON MAHAFFEY,§
		APPEAL FROM THE 

APPELLANT


V.§
		COUNTY COURT AT LAW #2


THE STATE OF TEXAS,

APPELLEE§
		HENDERSON COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


	Wilton Larron Mahaffey appeals his conviction for driving while intoxicated, for which he
was sentenced to confinement for three days and fined five hundred dollars.  In one issue, Appellant
contends that the trial court improperly denied his motion to suppress.  We affirm.


Background

	Appellant was charged by information with driving while intoxicated.  Thereafter, Appellant
filed a motion to suppress any evidence seized as a result of what he alleged was an illegal detention. 
The trial court subsequently conducted a hearing on Appellant's motion.  

	At the hearing, Gun Barrel City Police Sergeant Billy Sparks testified concerning his stop of
Appellant's vehicle.  Sparks testified that he stopped Appellant's vehicle for violating Texas
Transportation Code, section 545.104.  Sparks elaborated that Appellant was traveling southbound
on Texas Highway 198.  Sparks stated that the southbound side of the highway had two lanes. 
Sparks further stated that Appellant passed a traffic sign that stated, "Lane ends, merge left."  Sparks
testified that when Appellant reached the point in the roadway where the lane was ending--that is,
the broken dividing lines between the two lanes ceased and the line dividing the righthand lane with
the shoulder angled inward--he merged his vehicle leftward without using a turn signal. (1)  Sparks
further testified that Appellant's actions amounted to a traffic violation.

	Following the hearing, the trial court entered a written order denying Appellant's motion to
suppress.  Thereafter, the trial court made the following written findings of fact and conclusions of
law:


		On September 27, 2006, the Defendant was stopped for a traffic violation under Section
545.104 of the Texas Transportation Code (§ 545.104.  SIGNALING TURNS; USE OF TURN
SIGNALS. (a)  An operator shall use the signal authorized by Section 545.106 to indicate an intention
to turn, change lanes, or start from a parked position.)[.]

		

		The Court finds that the defendant did not cross over lane markings[,] but rather failed to use
a turn signal after the lane markings ended as the two lanes merged into one.  The Court finds that this
conduct is a traffic violation as contemplated by Section 545.104(a) and as such the traffic stop was
justified.

	

		The Court finds that the sole valid basis for the traffic stop and detention of the Defendant
was the violation of Section 545.104(a).



	Subsequently, Appellant pleaded "guilty" as charged.  The court sentenced Appellant to
confinement for three days and fined Appellant five hundred dollars.  This appeal followed.


Motion to Suppress

	In his sole issue, Appellant argues that the trial court erred in denying his motion to suppress. 
Specifically, Appellant argues that Sparks's traffic stop was baseless because Appellant's failure to
signal was not a violation of section 545.104(a).

Standard of Review

	A trial court's decision to grant or deny a motion to suppress is generally reviewed under an
abuse of discretion standard.  Oles v. State, 993 S.W.2d 103, 106 (Tex. Crim. App. 1999); Villarreal
v. State, 935 S.W.2d 134, 138 (Tex. Crim. App. 1996); Maysonet v. State, 91 S.W.3d 365, 369 (Tex.
App.-Texarkana 2002, pet. ref'd).  We will review de novo the legal question involving
interpretation of the Texas Transportation Code.  Wehring v. State, 276 S.W.3d 666, 669 (Tex.
App.- Texarkana 2008, no pet.) (citing Hernandez v. State, 957 S.W.2d 851 (Tex. Crim. App. 1998)
and Maysonet, 91 S.W.3d at 369).  Since all evidence is viewed in the light most favorable to the
trial court's ruling, we are obligated to uphold it on a motion to suppress if that ruling was supported
by the record and was correct under any theory of law applicable to the case.  State v. Ross, 32
S.W.3d 853, 856 (Tex. Crim. App. 2000); Carmouche v. State, 10 S.W.3d 323, 327 (Tex. Crim.
App. 2000); State v. Ballard, 987 S.W.2d 889, 891 (Tex. Crim. App. 1999); Maysonet, 91 S.W.3d
at 369.

Governing Law

	A routine traffic stop closely resembles an investigative detention.  Powell v. State, 5 S.W.3d
369, 375 (Tex. App.-Texarkana 1999, pet. ref'd).  Because an investigative detention is a seizure
that implicates the United States and Texas constitutions, the traffic stop must be reasonable.  U.S.
Const. amend. IV; Tex. Const. art. I, § 9; Francis v. State, 922 S.W.2d 176, 178 (Tex. Crim. App.
1996).  To determine the reasonableness of an investigative detention, we conduct the inquiry set
forth by the United States Supreme Court in Terry v. Ohio: (1) whether the officer's action was
justified at its inception; and (2) whether it was reasonably related in scope to the circumstances that
initially justified the interference.  392 U.S. 1, 19-20, 88 S. Ct. 1868, 1879, 20 L. Ed. 2d 889 (1968);
Davis v. State, 947 S.W.2d 240, 242 (Tex. Crim. App. 1997).

 	Under the first guideline, an officer's reasonable suspicion justifies an investigative
detention.  Davis, 947 S.W.2d at 242-43.  Specifically, the officer must have a reasonable suspicion
that some activity out of the ordinary is occurring or has occurred.  Id. at 244 (citing Garza v. State,
771 S.W.2d 549, 558 (Tex. Crim. App. 1989)).  To determine whether an officer was reasonable in
his or her initial action, we ask whether, in light of the officer's experience and knowledge, there
existed specific, articulable facts which, taken together with rational inferences from those facts,
reasonably warranted an intrusion.  Id. at 242.  "If an officer has a reasonable basis for suspecting
that a person has committed a traffic offense, the officer may legally initiate a traffic stop."  Zervos
v. State, 15 S.W.3d 146, 151 (Tex. App.-Texarkana 2000, pet. ref'd).

Merging Lanes and Required Use of a Turn Signal Under Section 545.104(a)

	In the case at hand, Sparks believed Appellant's failure to signal his intent to turn prior to
initiating his leftward merge was a violation of section 545.104(a).  The question we must resolve
is whether it was reasonable for Sparks to conclude that a traffic violation had been committed, even
though Appellant's vehicle did not cross any lane dividing lines.

	When interpreting statutes, we seek to effectuate the intent or purpose of the legislators who
enacted them.  Omaha Healthcare Ctr., L.L.C. v. Johnson, 246 S.W.3d 278, 282 (Tex.
App.-Texarkana 2008, pet. filed) (citing Fitzgerald v. Advanced Spine Fixation Sys., Inc., 996
S.W.2d 864, 865 (Tex.1999)).  If the statute is clear and unambiguous, the plain meaning of the
words should be applied.  Hines v. State, 75 S.W.3d 444, 447 (Tex. Crim. App. 2002); Boykin v.
State, 818 S.W.2d 782, 785 (Tex. Crim. App. 1991); Johnson, 246 S.W.3d at 282.  However, if
application of the plain language would lead to absurd consequences the legislature could not have
intended, we may look to extracontextual factors to arrive at a sensible interpretation of the statute. 
Hines, 75 S.W.3d at 447; Boykin, 818 S.W.2d at 785-86.

	Section 545.104 of the Texas Transportation Code provides in pertinent part as follows: 


		(a)  An operator shall use the signal authorized by Section 545.106 to indicate an intention
to turn, change lanes, or start from a parked position. 



Tex. Transp. Code Ann. § 545.104(a) (Vernon 1999).  The plain language of the statute requires
the driver to signal for a turn.  Thus, we will focus our analysis on whether Appellant's steering his
vehicle from right to left as the two lanes merged constituted a turn.

	Appellant cites Trahan v. State, 16 S.W.3d 146 (Tex. App.-Beaumont 2000, no pet.) in
support of his proposition that he was not legally required to use a turn signal.  In Trahan, the
appellant contended that the stop of his vehicle for failing to signal when exiting a freeway was not
authorized.  Id. at 147.  The court determined that a ninety degree turn is the type of turn
contemplated  in the relevant section of the Texas Transportation Code and that the code does not
equate moving right or left to a "turn."  Id.  The court held that under the plain language of section
545.104(a), the appellant was not required to signal because there was no evidence that he "turned"
or "changed lanes" in order to exit the freeway.  Id.

	However, in Krug v. State, 86 S.W.3d 764 (Tex. App.-El Paso 2002, pet. ref'd), the El Paso
court of appeals declined to apply the rule as set forth in Trahan.  See Krug, 86 S.W.3d at 766.  The
court elaborated on its decision, in pertinent part, as follows:

	By its plain language, Section 545.104 applies whenever the driver has an "intention to turn."  The
statute contains no limiting reference to Section 545.101 nor is there any other indication that Section
545.104 applies only to ninety degree turns made at an intersection of cross streets.  Although Trahan
states that the only types of turns discussed in Chapter 656 are those at intersections and when making
a 180 degree turn on a curve or the crest of a grade, Section 545.103 specifically discusses turning a
vehicle to enter a private road or driveway and turning the vehicle  from a direct course.  Thus, we
construe Section 656.104 as applying to any of these turns.

	

		Our construction of Section 656.104 is supported by consideration of former Section 68(a)
of Article 6701d....


	....


		Under the former law, an operator was required to signal an intention to turn when moving
right or left upon a roadway ..., and not only when turning at an intersection.  When the Legislature
codified the former law, it separated the requirement of making certain turns safely from the
requirement of signaling an intention to turn.  However, we see no indication in Sections 545.103 or
545.104 that the Legislature intended to change the law such that a person is now required to only
signal a turn at intersections and when turning around near a curve or grade.  If the Legislature had
intended such a drastic change in the law, it would have specifically restricted the application of
Section 656.104 to these circumstances rather than stating broadly that a driver must "indicate an
intention to turn."


		Moreover, Trahan ... may also be read as holding that Sections 545.103 and 545.104 are
mutually exclusive.  In our view, the provisions of Chapter 545 are not mutually exclusive but are
complementary such that a driver has a duty to not only signal an intention to turn, [but] he must also
make his turn safely.  These two requirements serve different goals and we find no intention on the
part of the Legislature to render them mutually exclusive.



Krug, 86 S.W.3d at 766-67; see also Wehring v. State, 276 S.W.3d 666, 670 (Tex. App.-Texarkana
2008, no pet.) (traffic violation where failed to indicate intent to turn into turn only lane).

	Furthermore, in Reha v. State, the Corpus Christi court of appeals considered the court's
opinion in Trahan along with its progeny, but determined that a turn signal is required regardless
of the degree of the turn.  See Reha v. State, 99 S.W.3d 373, 376 (Tex. App.-Corpus Christi 2003,
no pet.).  In its analysis, the court noted that section 545.104 contained no language limiting the
application of the statute only to ninety degree turns.  Id.  Moreover, the court stated that applying
the plain language of the statute in this way did not lead to an absurd result, but rather "provides a
clear, bright line rule by which drivers of motor vehicles and police officers charged with enforcing
the laws may operate, i.e., a turn signal is required 'to indicate an intention to turn.'"  Id.

	We agree with the court's determination in Reha that a turn signal is required regardless of
the degree of the turn.  Id.  Moreover, we agree with the court's determination in Krug that section
545.104's use of the word "turn" is complemented by and can be interpreted in conjunction with
section 545.103's description of safely turning.  In the case at hand, it is undisputed that Appellant
steered his car leftward as the righthand lane in which he was driving merged into the lefthand lane. 
From our reading of the plain language of section 545.103, we conclude that the legislature intended
the word "turn" to include a movement to either the right or the left on a roadway.  See Tex. Transp.
Code Ann. § 545.103 (Vernon 1999).  Thus, Appellant's movement from right to left on a roadway
amounts to a "turn" under chapter 545.  See Tex. Transp. Code Ann. §§ 545.103, 545.104(a);
Reha, 99 S.W.3d at 376; Krug, 86 S.W.3d at 766-67.  As such, Appellant was required to use a turn
signal to indicate his intention to make this turn.  See Tex. Transp. Code Ann. § 545.104(a).

	In sum, by his failure to signal his intent to turn when steering his car leftward as the
righthand lane in which he was driving merged into the lefthand lane, Appellant committed a traffic
violation.  When a traffic offense is committed in the presence of a peace officer, the detention is
reasonable.  See Garcia v. State, 827 S.W.2d 937, 944 (Tex. Crim. App. 1992).  Sparks was,
therefore, authorized to detain Appellant, and the evidence related to the DWI, gathered in
conjunction with a lawful traffic stop, was not required to be suppressed.  Therefore, we hold that
the trial court did not err in denying Appellant's motion to suppress.  Appellant's sole issue is
overruled.


Disposition

	Having overruled Appellant's sole issue, we affirm the trial court's judgment.


								    SAM GRIFFITH   

									   Justice



Opinion delivered August 19, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(DO NOT PUBLISH)
1.  Sparks acknowledged that Appellant did not cross any lane dividing lines at the point when he steered his
vehicle to the left.  However, Sparks stated that he still considered there to be two lanes in spite of the absence of a
dividing line.


